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 7                                UNITED STATES DISTRICT COURT
 8                                EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                            Case No. CR.S-09-0125 FCD
11                   Plaintiff,
12          v.                                            STANDING ORDER RE SENTENCING
                                                          MEMORANDA
13
14   SURINDER PAL SINGH and
     HARDEEP SINGH,
15
                 Defendants.
16   __________________________________/
17
18          If any party wishes to file a sentencing memorandum in advance of imposition of
19   judgment and sentence, said memorandum shall be filed on or before ten (10) days in advance of
20   the date set for judgment and sentence. Any response thereto shall be filed on or before five (5)
21   days in advance of the date set for judgment and sentence. All briefing shall be filed no later
22   than 4:00 p.m. on the date it is due. The parties are cautioned that if sentencing memoranda is
23   filed late, the judgment and sentence date may be vacated and the matter continued.
24
25          IT IS SO ORDERED.
26   Dated: January 7, 2010
                                                 _______________________________________
27                                               FRANK C. DAMRELL, JR.
28                                               UNITED STATES DISTRICT JUDGE
